    Case 3:14-cr-03537-BAS                     Document 819            Filed 08/02/16            PageID.3355              Page 1 of 5


AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT                                                   fiLE: [
                                              SOUTHER;\! DISTRICT OF CALlFOR;\!IA                                a" AUG -2 PH I: 48
                                                                                                                CLfjfJL!J.< , '.
              UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMIl'S\~",~~;\~IflICr Co
                                    v.                                  (For Offenses Committed On or After November 'f, I ~')H"IR\L
                  RYAN MCINTOCH IZUMI (9)                                                                  ~y  n(\,.­
                                                                            Case Number:        14CR3537-BA"s---~___.8""'''.''
                                                                        ROBERT BOYCE
                                                                        Defendant's Attorney
REGISTR4.nON NO.                    48896298
o
!ZI    pleaded guilty to count(s)          ONE (1) OF THE SUPERSEDING INDICTMENT

    was found guilty on count(s)
    after a plea of not guilty,
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                              Count
Title & Section                          Nature of Offense                                                                   Number(sl
18 USC 1962(d)                           CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                                  1
                                         THROUGH A PATTERN OF RACKETEERING ACTIVITY




    The defendant is sentenced as provided in pages 2 through                      5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
 ~     Count(s)    REMAINlNG AND Ul-iDERLYING                    are          dismissed on the motion of the United States.

 !ZI   Assessment: $100.00



 :zJ No fine                    0        Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution. costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                        AUGUST l. 2016



                                                                        H      . CYNTHIA BASHANT
                                                                        UNITED STATES DJSTRlCT JUDGE



                                                                                                                            14CR3537-BAS
       Case 3:14-cr-03537-BAS          Document 819         Filed 08/02/16      PageID.3356         Page 2 of 5

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                  RYAN MCINTOCH IZUMI (9)                                                Judgment - Page 2 of 5
CASE NUMBER:                14CR3537-BAS



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 SIXTY (60) MONTHS.




 o       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 !ZI     The court makes the following recommendations to the Bureau of Prisons:
         THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN THE
         WESTERN REGION FOR FAMIL Y VISITS.
         THE COURT RECOMMENDS THE DEFENDANT BE PLACED IN THE BOP RESIDENTIAL DRUG
         AND ALCOHOL TREATMENT PROGRAM (RDAP).

 o       The defendant is remanded to the custody of the United States Marshal.

 o       The defendant shall surrender to the United States Marshal for this district:
         o    at                            A.M.              on
                 -----------------
              as notified by the United States Marshal.
                                                                   ------------------------------------
         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
         Prisons:
         o    on or before
         o    as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

         Defendant delivered on
                                  -------------------------- to ------------------------------
 at
       ----------------------- , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                      By                    DEPUTY mrITED STATES MARSHAL


                                                                                                        14CR3537-BAS
            Case 3:14-cr-03537-BAS                 Document 819               Filed 08/02/16           PageID.3357              Page 3 of 5

     AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

     DEFENDANT:                   RYAN MCINTOCH IZUMI (9)                                                                      Judgment - Page 3 of 5
     CASE NUMBER:                 14CR3537-BAS

                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or afier September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o          substance abuse. (Check, (f applicable.)
           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
           Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shaH comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
[J         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                         ST ANDARD CONDITIONS OF SUPERVISION
      I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)  the defendant shall report to the probation ofiicer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquirics by the prohation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unkss excused by the probation officer for schooling. training, or other acceptable
          reasons;
      6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use. distribute. or administer any controlled substance or
          any paraphernalia related to any controlled substances. except as prescribed by a physician:
      8) the defendant shall not frequent places where controlled substances are illegally sold. used. distributed. or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer:
      II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law entorcement oftker:
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
      (3) as directed by the probation officer. the defendant shall notify third parties of risks that may be occasioned by thc defendant's criminal record or
          pcrsonal history or characteristics and shall penn it the probation oUlcer to make such notifications and to confirm the defendant's compliance
          with such notitication requirement.



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    Case 3:14-cr-03537-BAS         Document 819         Filed 08/02/16    PageID.3358        Page 4 of 5

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:            RYAN MCINTOCH IZUMI (9)                                               Judgment· Page 4 of 5
CASE NUMBER:          14CR3537·BAS

                               SPECIAL CONDITIONS OF SUPERVISION



   1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

   2. Participate in a program of mental health treatment as directed by the probation officer, take all
      medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
      permission. The court authorizes the release of the presentence report and available psychological
      evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
      release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer,
      based on ability to pay.

   3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   4. Resolve all outstanding warrants within 60 days.

   5. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   6. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3) ..

   7. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.

    8. Shall not knowingly associate with any known member, prospect, or associate of the (Tycoons, Bloods,
       AddItUp), or any other gang, or club with a history of criminal activity, unless given permission by the
       probation officer.



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    Case 3:14-cr-03537-BAS        Document 819          Filed 08/02/16   PageID.3359        Page 5 of 5

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:            RYAN MCINTOCH IZUMI (9)                                              Judgment - Page 5   5
CASE NUMBER:          14CR3537-BAS

   ]. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.


   2. Shall not knowingly loiter, or be present in locations known to be areas where gang members
      congregate, unless permission by the probation officer.

   3. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
      materials associated with a gang, unless given permission by the probation officer.

   4. Shall not knowingly associate with prostitutes or pimps and/or loiter in areas frequented by those engaged
      in prostitution and sex trafficking.




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